Case 2:21-cv-00174-JRG Document 307 Filed 05/25/22 Page 1 of 2 PageID #: 25490




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 ARIGNA TECHNOLOGY LIMITED,                        §
                                                   §
                                                   §
                Plaintiff,                         §
                                                   §
 v.                                                §   CIVIL ACTION NO. 2:21-CV-00174-JRG
                                                   §
 GENERAL MOTORS LLC, NISSAN                        §
 MOTOR COMPANY, LTD., NISSAN                       §
 NORTH AMERICA, INC.,                              §
                                                   §
                Defendants.                        §

                                              ORDER

       Before the Court is Plaintiff Arigna Technology Limited’s (“Arigna”) and Defendant

General Motors LLC’s (“GM”) Joint Motion to Stay All Deadlines and Notice of Settlement (the

“Motion”) (Dkt. No. 300). In the Motion, the parties inform the Court that a settlement in principle

has been reached that resolves all matters in controversy between Arigna and GM in the

above-captioned matter. Accordingly, Arigna and GM request that the Court stay all pending

deadlines between them for 30 days, up to and including June 19, 2022, while they finalize their

settlement and prepare the appropriate dismissal papers.

       Having considered the Motion, and in light of its joint nature, the Court finds that it should

be and hereby is GRANTED. Accordingly, the Court STAYS all deadlines in the above-captioned

action between Arigna and GM up to and including June 19, 2022 during which time appropriate

dismissal papers shall be filed with the Court. This stay and the provisions of this Order only affect

Arigna’s action against GM and shall have no effect on the remaining Defendants Nissan Motor

Company, Ltd., and Nissan North America, Inc.
Case 2:21-cv-00174-JRG Document 307 Filed 05/25/22 Page 2 of 2 PageID #: 25491




       Also in the Motion, Arigna and GM inform the Court that the following motions raised

only between Arigna and GM and currently pending resolution at the pre-trial conference in this

matter set for June 13, 2022, no longer require adjudication: (1) Arigna’s Motion to Exclude

Opinions of Lance Gunderson (Dkt. No. 163), and (2) GM’s Daubert Motion to Exclude Expert

Opinions of David E. Yurkerwich (Dkt. No. 170). In light of the above, the Court

DENIES-AS-MOOT Arigna’s Motion to Exclude Opinions of Lance Gunderson (Dkt. No. 163)

and GM’s Daubert Motion to Exclude Expert Opinions of David E. Yurkerwich (Dkt. No. 170).


       So Ordered this
       May 25, 2022




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